         Case 1:23-cr-00251-AKH                     Document 281               Filed 02/21/25            Page 1 of 2



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February 21, 2025


VIA ECF
Hon. Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

          Re:       U.S. v. Charlie Javice, No. 23-cr-00251

Dear Judge Hellerstein:

        Defendant Charlie Javice (“Ms. Javice”) writes to renew her motion in limine to exclude
evidence and arguments regarding now-invalid theories of fraud. ECF Nos. 196, 206.
Specifically, Ms. Javice anticipates the government will introduce evidence of alleged
misrepresentations to Bank-1, a mere potential acquirer of Frank through the government’s
anticipated first witness. Because the alleged misrepresentation to Bank-1 is predicated on
invalidated fraud theories, evidence and argument regarding Bank-1 should be excluded.
        The government may not prosecute Ms. Javice for allegedly defrauding Bank-1 without
showing she contemplated depriving Bank-1 of the benefit of the bargain, specifically a
deprivation of money or property. See, e.g., United States v. Starr, 816 F.2d 94, 98 (2d Cir. 1987)
(“[D]eceit must be coupled with a contemplated harm to the victim,” which itself “affect[s] the
very nature of the bargain itself” (emphasis added)). Thus, any evidence or argument that Ms.
Javice allegedly withheld economic information or induced Bank-1 to consider purchasing Frank,
absent evidence that she intended to deprive Bank-1 of the benefit of the bargain is irrelevant,
unduly prejudicial, and risks confusing and misleading the jury. Fed. R. Evid. 401, 402; ECF No.
206 at 3-9.
        Neither Supreme Court nor Second Circuit precedent permit federal fraud convictions to
be based solely on the fact that inaccurate information was shared with another in the course of a
transaction, let alone an unconsummated one. ECF No. 206 at 5-8. Indeed, “schemes that do no


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       Case 1:23-cr-00251-AKH           Document 281            Filed 02/21/25                  Page 2 of 2




more than cause their victims to enter into transactions they would otherwise avoid . . . do not
violate the . . . wire fraud statute[].” United States v. Shellef, 507 F.3d 82, 108 (2d Cir. 2007)
(emphasis added). Property fraud requires a scheme both “to deceive . . . and deprive [the victim]
of something of value.” Shaw v. United States, 580 U.S. 63, 72 (2016) (emphasis added). Here,
by contrast, the government’s fraud theory regarding Bank-1 is nothing more than a thinly veiled
attempt to improperly “make a federal crime of an almost limitless variety of deceptive actions
traditionally left to state contract and tort law.” Cimineli v. United States, 598 U.S. 306, 310
(2023).
        These back-door attempts at federal criminalization of what amounts to, at most, a putative
contract dispute, defy binding precedent and must be precluded. See Cimineli, 598 U.S. at 310
(rejecting the “right to control” theory of wire fraud, whereby a defendant schemes to “deprive a
victim of potentially valuable economic information necessary to make discretionary decisions”);
United States v. Novak, 443 F.3d 150, 156 (2d Cir. 2006) (“[T]he government must, at a minimum,
prove that defendants contemplated some actual harm or injury to their victims. . . . An intent to
harm a party to a transaction cannot be found where the evidence merely indicates that the services
contracted for were dishonestly completed.”).
       Indeed, the Supreme Court has recently “cast doubt . . . on the proposition that mere
deception without harm to property rights is sufficient to state a federal fraud claim.” SEC v. Govil,
86 F.4th 89, 105 (2d Cir. 2023). However, that is precisely what the government’s theory
regarding Bank-1. Because the government has not (and cannot) show any harm to Bank-1’s
property rights, let alone that Ms. Javice’s alleged misrepresentations were aimed at causing a
property deprivation, the government’s evidence falls squarely within the prohibited theories and
must be excluded.


                                               Respectfully submitted,

                                                   /s/ Kirsten R. Nelson.
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cc:    All Counsel of Record
